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 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                 DEFENDANTS NSO GROUP
13                                                TECHNOLOGIES LIMITED
                  Plaintiffs,                     AND Q CYBER TECHNOLOGIES
14                                                LIMITED’S ADMINISTRATIVE
           v.                                     MOTION TO CONSIDER WHETHER
15                                                ANOTHER PARTY’S MATERIAL
     NSO GROUP TECHNOLOGIES LIMITED               SHOULD BE SEALED
16   and Q CYBER TECHNOLOGIES LIMITED,
17                Defendants.
                                                  Action Filed: 10/29/2019
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     DEFENDANTS’ MOTION TO CONSIDER                                   Case No. 4:19-cv-07123-PJH
     WHETHER ANOTHER PARTY’S
     MATERIAL SHOULD BE SEALED
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 1   TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants

 3   NSO Group Technologies Limited and Q Cyber Technologies Limited (“Defendants”) move the

 4   Court to consider whether certain portions of and exhibits attached to the parties’ Joint Letter Brief

 5   Regarding Defendants’ Motion to Compel Responses to Second and Fourth Set of Requests for

 6   Production of Documents (the “Joint Letter Brief”) should be sealed. Unredacted versions of the

 7   Joint Letter Brief and the Exhibits to the Joint Letter Brief are attached as Exhibits A and B to the

 8   declaration of Aaron S. Craig filed currently herewith.

 9          The Joint Letter Brief makes reference to and describes documents produced by or

10   referencing materials designated by Plaintiffs WhatsApp LLC, f/k/a WhatsApp Inc.

11   (“WhatsApp”), and Meta Platforms, Inc., f/k/a Facebook, Inc. (“Facebook” and, collectively,

12   “Plaintiffs”) that Plaintiffs have designated as “Highly Confidential - Attorney’s Eyes Only” under

13   the Stipulated Protective Order (Dkt. No. 132). Defendants have attached these documents as

14   Exhibits 3, 4, 5, 6, and 7 to the Joint Letter Brief. Accordingly, Defendants move the Court to

15   consider whether Exhibits 3, 4, 6, and 7 and a part of Exhibit 5 to the Joint Letter Brief, and the

16   references to those exhibits in the Joint Letter (Craig Decl. Exh. A) should be sealed.

17          Defendants take no position as to whether these materials or information derived from these

18 materials satisfy the requirements for sealing.           They reserve the right to challenge any

19 confidentiality designations and to oppose any statement by Plaintiffs in accordance with Civil

20 Local Rule 79-5(f)(4).

21          For the reasons set forth above, Defendants respectfully request that the Court permit the

22   unredacted Joint Letter and Exhibits 3, 4, 6, and 7 and a part of Exhibit 5 thereto, to be conditionally

23   filed under seal.

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      DEFENDANTS’ MOTION TO CONSIDER                     1                       Case No. 4:19-cv-07123-PJH
      WHETHER ANOTHER PARTY’S MATERIAL
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 1   DATED: August 13, 2024                    KING & SPALDING LLP
 2

 3                                             By: /s/ Aaron S. Craig
                                                   JOSEPH N. AKROTIRIANAKIS
 4
                                                   AARON S. CRAIG
 5
                                                  Attorneys for Defendants NSO GROUP
 6                                                TECHNOLOGIES LIMITED and Q
                                                  CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ MOTION TO CONSIDER       2                      Case No. 4:19-cv-07123-PJH
      WHETHER ANOTHER PARTY’S
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